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Brock Fredin
Baldwin, WI 54002 ● Phone: (612) 424-5512 ●
E-Mail: brockfredinlegal@icloud.com

                                                                            Date: September 6, 2019
BY ECF

Hon. Magistrate Judge Hildy Bowbeer
United States District Court
316 Robert St N
Saint Paul, MN 55101


         Re:      Fredin v. Miller et al., Case No. 18-cv-466-SRN-HB

Dear Judge Bowbeer:

I write to respectfully move the Court to withdrawal Interrogatories served dated September 5,
2019 on counsel for defendants.

I am serving the attached Interrogatories to comply with Rule 33(a)(1). (See Ex. A.)

I thank the Court’s for its attention to this matter and its continued courtesies.




                                                               Respectfully submitted,




                                                               s/ Brock Fredin

                                                               Brock Fredin

cc:      K. Jon Breyer (by ECF)
         Adam C. Ballinger (by ECF)
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           EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 BROCK FREDIN,

                        Plaintiff,

        --against--

 GRACE MILLER,                                      Case No. 18-CV-466
 CATHERINE SCHAEFER


                        Defendants.



            PLAINTIFF BROCK FREDIN’S FIRST SET OF INTERROGATORIES

       Pursuant to Rule 34 of the Federal Rules of Civil Procedure, you are requested and required

to furnish answers to the following Interrogatories to Plaintiff Brock Fredin within thirty (30) days

from the date of service. These Interrogatories are continuing and require supplemental answers

if additional responsive information is obtained, discovered or created.

                                          DEFINITIONS

       a.      “You” or “Your” means Defendant Grace Miller or Catherine Schaefer in the action

Brock Fredin v. Grace Miller et al, Court File No.: 18-cv-466, pending in the United States District

Court for the District of Minnesota, and any other person acting or purporting to act under the

authority or on behalf of Defendant Grace Miller or Catherine Schaefer, including her agents,

attorneys and representatives.

       b.      “Brock Fredin” or “Plaintiff” means Plaintiff Brock Fredin in the action Brock

Fredin Grace Miller, Court File No.: 18-cv-466, pending in the United States District Court for

the District of Minnesota.
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       c.      “Document” includes, without limitations, all original written, typed or recorded

material or thing of any nature whatsoever, including but not limited to electronic, electromagnetic,

or digital recordings, files, or computerized data files and compilations, such as emails, facsimiles

correspondence, notes, memoranda, digital photographs, word documents, digital media, text

messages, photographs, metadata and reports, in Your possession, custody or control, in the

possession, custody or control of Your Chambers, or Your present or former attorneys, agents,

representatives or other persons acting or purporting to act on Your behalf’s possession, custody

or control. “Document” also included any document affixed to or attached to any document

otherwise responsive to this demand, all drafts, and all non-identical copies regardless of origin or

location.

       d.      The term “communication” means, without limitation, any transmission or

exchange of information between two or more persons, orally or in writing, and includes, without

limitation, any conversation, contact or discussion, whether face-to-face or by means of telephone,

letter, correspondence, memorandum, facsimile, e-mail, instant message, social media, text

message or any other electronic or media, form, where by chance or design.

       e.      The term “identify” with respect to persons means to give, to the extent known, the

person’s full name, present or last address, and when referring to a natural person, additionally the

present or last know place of employment. Once a person has been identified in accordance with

this subparagraph, only the name of that person need be listed in response to subsequent discovery

requesting the identification of that person.

       f.      The term “identify” with respect to documents means to give, to the extent known,

the (i) type of document; (ii) general subject matter of the document; (iii) date of the document;

and (iv) author(s), addressee(s) and recipient(s) of the document.




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        g.      The term “identify” with respect to communications means to give, to the extent

known, the (i) names, addresses and last known places of employment of the participants of the

communication; (ii) the subject matter and precise content of the communications; (iii) the

location(s) of the communication; (iv) the mode or means of the communication (e.g., written, by

telephone, email, meeting, etc.); and (v) the date of the communication.

        h.      “Including” means “including without limitation.”

        i.      A document or communication “concerning” or “relating to” a given subject matter

means that it concerns, constitutes, contains, embodies, comprises, reflects, identifies, states, refers

to, deals with, comments on, responds to, describes or analyzed that subject, including documents,

communications or correspondence concerning the contents of other documents, communications

or correspondence.

        j.      The connective “and” and “or” shall be construed either conjunctively or

disjunctively as necessary to bring within the scope of these response all responses that might

otherwise be construed to be outside of its scope and to give this Demand the broadest reading.

        k.      The singular form of a word shall be construed to include within its meaning the

plural form of the word and vice versa and the use of any tense of any verb shall be considered to

also include all other tenses in a manner that gives this Demand the broadest reading.

                                       INTERROGATORIES

        1.      Identify each and every person with whom You have had a communication with

concerning or relating to Plaintiff Brock Fredin and describe those communications, including the

date and location of where such communication took place, the subject matter of each

communication and the name of each person present at the time of such communication.




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        2.      Identify all persons who may have knowledge of the facts and/or allegations

contained in the complaint filed in the above-captioned action and state Your understanding of

their knowledge.

        3.      Identify all persons who You intend to call as witnesses at a hearing or trial in this

action and give a summary of their anticipated testimony.

        4.      Identify each exhibit You intend or reasonably expect to introduce into evidence at

any hearing, trial and depositions or by affidavit in this action.

        5.      Identify the substance and factual basis for each and every allegation contained in

Plaintiff’s complaint filed in this action.

        6.      Identify the date, time, and location in which You made police reports against

concerning or relating to Plaintiff Brock Fredin.

        7.      Identify the date, time, and location in which You made police reports against

concerning or relating to Plaintiff Brock Fredin.

        8.      Identify all communications You had, including identifying the individuals with

whom You had the communications, the dates, times, and locations that formed that basis of Your

February 22, 2017 City Pages Article statements in which you stated to City Pages staff or implied:

                a. Plaintiff had posted profiles on “datingpsychos.com” or statements referencing
                    labeling You as a “bully”
                b. “(text messages) Some sexually suggestive, continued for weeks”.
                c. After a few dates, she sensed something was off. One night, what the woman
                    now calls a set of “creepy” text messages pushed her over the edge, and she
                    broke it off.
                d. Then she coached Schaefer through getting her own
                e. The date never happened. Before they met in person, Fredin sent a series of
                    “very odd” and intense texts. Schaefer decided a meeting was “not in her best
                    interests.”


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               f. “dozens of times by unfamiliar cell phone numbers and online dating
                    profiles.”
       9.      Identify all continuing sexually suggestive messages that continued for weeks.

       10.     Identify all usernames, profiles, emails hashtags, or Internet alias’s You have used

to track, investigate, or communicate relating to or concerning Plaintiff Brock Fredin.

       11.     Identify the date, time, and location in which You were stood up for a date by

Plaintiff Brock Fredin.

       12.     Identify the date, time, and location or any knowledge therein associated with civil

process service relating to or concerning Plaintiff Brock Fredin.

       13.     Identify and describe each and every communication You have had with each of

the following individuals or entities concerning or relating to Plaintiff Brock Fredin:

               a.       Lindsey Middlecamp

               b.       Emma Miller

               c.       Rebecca Esselstein

               d.       David Middlecamp

               e.       Rachel Albrecht-Miller

               f.       Margaret L. Miller

               g.       William Miller

               h.       Joshua Post Lee

               i.       Tiffany Dynamite Roberts

               j.       Natalie Rierson

               k.       Britta Dee

               l.       Karmen McQuitty

               m.       Mike Mullen (City Pages)



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      n.    City Pages

      o.    Hannah Sayle

      p.    Jenavieve Hatch

      q.    Mark Shrayber

      r.    Suana Society

      s.    Michael Olafson

      t.    Mark Doe (Lindquist and Vennum lawyer mediating)

      u.    Minneapolis City Attorney Susan Segal

      v.    Minneapolis Police Department

      w.    Saint Paul Police Department

      x.    Minneapolis City Attorney’s Office (civil)

      y.    Saint Paul City Attorney’s Office Staff (civil)

      z.    David McCabe

      aa.   Paula Kruchowski

      bb.   Peter Mayer

      cc.   Mary Ellen Heng/Stephen Heng (married couple)

      dd.   Tubman Society

      ee.   Lucinda Jesson

      ff.   Kevin G. Ross

      gg.   Heidi S. Schellas

      hh.   Elizabeth Clysdale

      ii.   Michael Boulette




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Dated: August 31, 2019
       Richfield, MN                           s/ Brock Fredin
                                              ___________________________
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                                              Baldwin, WI 54002
                                              (612) 424-5512 (tel.)
                                              brockfredinelgal@icloud.com
                                              Plaintiff, Pro Se

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      Catherine Schaefer

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